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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE


                            MEDIATION CERTIFICATION
 Case number:                Case title:
   2:19-cv-02864-MSN-cgc     City of Memphis v. Horn Lake Creek Basin Interceptor Sewer District
 Plaintiff counsel:
                    Bruce McMullen, Esq.
 Defendant counsel:
                      Keith Turner, Esq.
 Presiding Judge:                                 Mediator:
                    Judge Norris                              David Wade, Esq.


       David Wade
 I, ________________________________, in accordance with the Court’s Plan for Alternative
 Dispute Resolution, 5.11(b), hereby certify that I conducted mediation proceedings in
                            12/9/2022; 1/6/2021
 the above-styled case on ___________________________.
                                         12/9/2022; 1/6/2021
 As a result of that mediation held on _______________________________________________.

         The case has settled in whole.

            Case settled prior to scheduling first mediation session.

           Parties have agreed that __________________________________ will prepare
           settlement agreement and stipulation for dismissal to be filed with the Court.



 X       The case has not settled.

            Mediation will continue on ___________________________________________.

            The parties may schedule another session at a later date.

         X Mediation is complete. The case will proceed toward trial pursuant to the
           Court’s scheduling order.


                                        Certificate of Service

 I hereby certify that a true and correct copy of the foregoing pleading has been served
 via the Court’s Electronic Case Filing system to the following:


     Bruce McMullen; Keith Turner


 Date                              Electronic signature of Mediator:
      2/23/2022
                                   s/ David Wade
                                   Sincerest apologies for inadvertently failing to file this report timely.
